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16                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
17 FEDERAL TRADE COMMISSION,                Case No. 2:15-CV-04527-GW (PLAx)
18                     Plaintiff,           PLAINTIFF FEDERAL TRADE
                                            COMMISSION’S
19                     v.                   MEMORANDUM OF POINTS
                                            AND AUTHORITIES IN
20 BUNZAI MEDIA GROUP, INC.,                SUPPORT OF ITS MOTION FOR
   et al.,                                  SUMMARY JUDGMENT
                Defendants.

        PLAINTIFF FEDERAL TRADE COMMISSION’S MEMORANDUM OF POINTS AND
          AUTHORITIES IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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1       I.      INTRODUCTION
2            Defendants marketed skincare products over the Internet using deceptive
2
3
3    offers with hidden costs, negative option continuity plans, and undisclosed,
4
5
4    onerous return policies. Defendants falsely offered “risk free trials” or “gifts” of
6    products to consumers nationwide using popup advertisements and website offers.
5
7
6    Defendants’ offers were designed to trick consumers into purchasing Defendants’
8
9
7    product and unwittingly enrolling into Defendants’ negative option continuity
10
 8 plan, which automatically charged consumers for additional products each month.
11
 9       Defendants solicited consumers’ credit card information by requiring
12
10 consumers who accepted their purported “risk free trial” or “gift” to provide credit
13
14
11 or debit card billing information, supposedly to pay nominal shipping and
15
12 handling fees to receive the advertised products. However, 10 days after receiving
16
17
13 consumers’ billing information, Defendants charged consumers the full costs of
18
14 the products—imposing charges of up to $97.88 onto consumers’ credit or debit
19
15 cards.
20
21
16       Defendants also enrolled consumers into a negative option continuity plan,
22
17 in which Defendants shipped additional products each month and charged
23
24 consumers’ credit or debit cards the full costs of the products, usually $97.88 per
18
25
19 month. And when deceived consumers attempted to send unordered and unwanted
26
20
27
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1    purchases back for a refund, Defendants generally refused to provide them with
2    refunds.
2
3
3          Defendants’ practices violated Section 5(a) of the Federal Trade
4
5
4    Commission Act (“FTC Act”), 15 U.S.C. § 45(a), Section 4 of the Restore Online
6    Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8403, and Section 907(a) of
5
7
6    the Electronic Funds Transfer Act (“EFTA”), 15 U.S.C. § 1693e(a), and caused
8
9
7    over $75 million in consumer injury.
10
 8       Plaintiff Federal Trade Commission (“FTC”) moves for summary judgment
11
 9 under FED. R. CIV. P. 56(a), against Individual Defendants Alon Nottea; Doron
12
10 Nottea; Igor Latsanovski; Roi Reuveni; and Alan Argaman; Corporate Defendants
13
14
11 Secured Merchants LLC and CalEnergy, Inc.; and Relief Defendant Chargeback
15
12 Armor, Inc.
16
17
13        The evidence provides an overwhelming account of Defendants’ violations
18
14 of the FTC Act, ROSCA, and EFTA. Accordingly, entry of a final order against
19
15 these Defendants, as well as against the Defendants who have defaulted, is
20
               1
21
16 appropriate. That final order should include provisions permanently enjoining
22
17
23 1 The Corporate Defendants that have defaulted are: Bunzai Media Group, Inc.,
18
24 d/b/a AuraVie and Miracle Face Kit; Pinnacle Logistics, Inc.; DSA Holdings, Inc.;
   Lifestyle Media Brands, Inc.; Agoa Holdings, Inc.; Zen Mobile Media, Inc.;
25
19 Safehaven Ventures, Inc.; Heritage Alliance Group, Inc., also doing business as
26 AuraVie Distribution; AMD Financial Network, Inc.; SBM Management, Inc.;
20 Media Urge, Inc.; Adageo, LLC; KAI Media, Inc.; Insight Media, Inc.; Focus
27 Media Solutions, Inc.; Secured Commerce, LLC; USM Products, Inc.; Merchant
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1    Defendants’ deceptive practices, converting the Receiver into a liquidating
2    receiver, and awarding monetary relief of $75,624,030 to redress consumer injury
2
3
3    and disgorge ill-gotten funds. (Ex. 944).
4
5
4       II.      NATURE AND STAGE OF THE PROCEEDING
6             On June 18, 2015, the FTC filed its Complaint and sought an ex parte
5
7
6    temporary restraining order against Defendants. (Dkts. 3, 5). The Court entered a
8
9
7    TRO against all defendants, enjoining their deceptive practices, freezing their
10
 8 assets, and appointing a Receiver over the Corporate Defendants and related shell
11
 9 companies. (Dkt. 14). The Court also granted the FTC and Receiver immediate
12
10 access to Defendants’ business premises to copy or image business records. Id.
13
14
11 Subsequently, by stipulation or following contested hearings, Preliminary
15
12 Injunctions with asset freezes and receivership provisions were entered against all
16
17
13 of the defendants named in the original Complaint. (Dkts. 95, 101, 104, 108, 147).
18
14        In October 2015, the FTC amended its Complaint (Dkt. 235), adding eight
19
15 corporate defendants,2 two individual defendants,3 and a relief defendant.4 Of the
20
21
16
22 Leverage Group, Inc.; DMA Media Holding, Inc.; Shalita Holdings, Inc.; All Star
17 Beauty Products, Inc. Individual Defendant Khristopher Bond has defaulted as
23 well.
18
24 2 The additional Corporate Defendants were: Focus Media Solutions, Inc.;
25 Secured Commerce LLC; Secured Merchants LLC; UMS Products; Merchant
19 Leverage Group, Inc.; DMA Media Holdings, Inc.; Shalita Holdings, Inc.; and All
26 Star Beauty Products, Inc.
20 3
27   The additional Individual Defendants were Paul Medina and Alan Argaman.
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1     33 named defendants, 20 Corporate Defendants and one Individual Defendant
2     failed to defend; most have already been defaulted by the Clerk of the Court.
2
3
3     (Dkts. 157; 158; 159; 229; and 230). The Court stayed the case as to Defendants
4
5
4     Oz Mizrahi, Motti Nottea, and Paul Medina to permit the Commission time to
6     consider approving proposed settlements as to those Defendants. (Dkt. #339).
5
7
6          III.   STATEMENT OF UNCONTROVERTED FACTS
8
9
7             In support of its motion for summary judgment, the FTC has filed a separate
10
 8 Statement of Uncontroverted Facts and Conclusions of Law (“UF”), with citations
11
 9 to pleadings, depositions, declarations, and other relevant evidence. This evidence
12
10 includes Defendants’ own business records and correspondence; sworn testimony
13
14
11 from Defendants, Defendants’ former employees, and Defendants’ customers;
15
12 business records from the third-party service providers, such as webhosting
16
17
13 companies and financial institutions, and the Better Business Bureau; and other
18          5
14 evidence. Cumulatively, this evidence proves that Defendants operated a
19
15 common enterprise to deceptively sell skincare products online to consumers
20
21
16 throughout the United States. See, e.g., Defendants’ Business Practices (UF #45-
22
17 67) and Common Enterprise (UF #42-43).
23
18
24
25
19
      4
26        The Relief Defendant was Chargeback Armor, Inc.
20    5
27        See Index of Exhibits.
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1       IV.   DEFENDANTS’ DECEPTIVE BUSINESS PRACTICES
2          Through numerous websites, Defendants prominently touted “risk-free
2
3
3    trial,” “trial order,” or “FREE trial” offers of skincare products. (UF #45, UF #47-
4
5
4    49). Defendants’ websites claimed the offers were merely for a trial, promised
6    “100% Satisfaction Guaranteed,” and even claimed that to be accredited by the
5
7
6    Better Business Bureau (“BBB”) with an A- rating. (UF #49-50). The websites
8
9
7    requested consumers’ credit card or debit card information, purportedly to pay a
10
 8 small shipping and handling fee to receive the trial offer. (UF #48, UF #50).
11
 9       In truth, Defendants’ trial offers were a ruse. The offers came with hidden
12
10 costs and inadequately disclosed negative option continuity plan features and
13
14
11 return policies. (UF #51-62). Defendants buried details about the costs of the
15
12 products, automatic enrollment into continuity plans, and onerous return policies,
16
17
13 by placing such details in hyperlinks that consumers could only find by scrolling
18
14 to the bottom of webpages and clicking on an obscure “T&C.” (UF #56, UF #59).
19
15 And even when disclosures were provided, they were often incomplete and failed
20
21
16 to clearly inform consumers of the material terms, conditions, and limitations of
22                    6
17 their sales offers. (UF #56-58). After consumers accepted the “trial offers,”
23
18
24
25
19 6
     Years ago, BunZai’s attorney noted the inadequacy of this disclosure, concluding
26
20 that “[a]lmost certainly the FTC would say it [] is not ‘conspicuous.’” UF #
27 61(a)(vi).
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1     Defendants sent confirming emails that reinforced the false impression that the
2     product was free.7 (UF #60-61).
2
3
3             Consumers learned about the costs of the “risk free trial” offers only when
4
5
4     they saw charges—typically $97.88 each—on their credit or debit card statement.
6     (UF #53). Likewise, consumers learned about Defendants’ onerous return polices
5
7
6     only when they realized they were being charged for products that they believed
8
9
7     were free or received subsequent shipments of unordered product and tried to
10
 8 return the items. (UF #52-54). Consumers alleged, and Defendants’ former
11
 9 employees and business records confirm, that Defendants generally refused to
12
                                       8
10 provide consumers with full refunds. (UF #55, UF #62-67). In fact, even when
13
14
11 consumers contacted their credit card companies and requested chargebacks for
15
12 unauthorized charges, Defendants aggressively continued their deception. (UF
16
17
13 #65). Defendants told consumers that chargebacks were illegal and would be
18
14 reported to local or federal law enforcement authorities for civil or criminal
19
15 enforcement proceedings. (UF #65(c)). Defendants also submitted doctored and
20
21
16    7
        BunZai’s attorney also stated that Defendants were required to send a “a post-
22    transaction confirmation email . . . that includes all the material negative option
17    terms and cancellation/refund procedure.” UF #61(a). However, Alon Nottea
23
      found that doing so in the past had cut down on his sales. UF #32(u)(vi). He
18
24    further questioned how his competitor could include such notices. UF #32(u)(iv).
   8
25
19   For example, Defendants’ scripts advised customer service agents to avoid
   refunds: “*Important* Avoid Returns as much as possible . . . Customers should
26
20 initially be advised that the best we can do is cancel their membership and prevent
27 any future charges or shipments.” UF #63(a)(i).
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1    falsified documents to banks, protesting chargebacks and asserting that consumers
2    had knowingly agreed to the charges and the continuity plan. (UF #65).
2
3
3       V.   DEFENDANTS’ OPERATION OF A COMMON ENTERPRISE
4       A. The Roles of the Corporate Defendants.
5
4
           The evidence proves that Defendants participated in or controlled the
6
5
7    common enterprise with knowledge of its deceptive and unfair practices. (UF #9-
6
8
     41). Defendants created a complex web of companies to deceive consumers,
9
7
   banks, and law enforcement and to operate the scheme. (UF #42-43). The Court’s
10
 8
11 Receiver identified as many as 27 corporate entities that Defendants used to carry
 9
12
   out their scheme. (Ex. 121-3 at 4-5). Defendants collectively operated these
13
10
   corporations from the same physical location, with the same employees, and
14
11
15 commingled funds generated from the sale of the same products. (UF #42).
12
16
          BunZai Media Group, Inc. (“BunZai”) was owned by Alon Nottea, Igor
17
13
   Latsanovski, and Khristopher Bond. (UF #9). Defendants initially operated their
18
14
19 online skincare product business exclusively through BunZai. (UF #9). However,
15
20
   apparently to avoid detection and to protect their assets, Defendants dissolved
21
16
22 BunZai around 2012 and replaced it with a convoluted corporate structure with
17
23 numerous shell companies, each with different “owners” or “CEOs.” (UF #9(e)).
18
24
   Defendants recruited friends, family, and acquaintances to permit their names to
25
19
26 be used for shell corporations and merchant accounts. (UF #42(h)). These shell
20
27 companies funneled the money primarily to two entities: SBM Management, Inc.
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1    and CalEnergy, Inc. (UF #42(d)). In turn, these companies passed funds on to the
2    Individual Defendants or their personal shell companies. Id. There were many
2
3
3    participants, but one common enterprise scheme.
4
5
4          After dissolving BunZai, Alon Nottea, Igor Latsanovski, and Khristopher
6    Bond formed Pinnacle Logistics, Inc., to take over order fulfillment and customer
5
7
6    service functions for the enterprise. (UF #10). Media Urge, Inc., and its
8
9
7    successor, Focus Media Solutions, Inc., both owned by Alon Nottea, served as
10
 8 the marketing arm. (UF #19, 24). These companies, controlled and managed by
11
 9 the Individual Defendants (UF #43(a)), assisted in the created and placed online
12
10 advertisements and websites for skincare and other products sold by “risk free
13
14
11 trial” offers. They also coordinated with affiliate networks to deceptively market
15
12 the company’s “risk-free trials.” (Dkt. #120, at 46.)
16
17
13       CalEnergy, Inc., owned by Igor Latsanovski, held itself out as the parent
18
14 company of the enterprise and managed both Pinnacle and Media Urge. It
19
15 provided the common enterprise the funds needed to keep afloat. (UF #21, UF
20
21
16 #36(e), UF #36(g)). Secured Commerce LLC, owned by Alan Argaman and
22
17 Doron Nottea (UF #39(b)), created the webpages containing bogus “risk free trial”
23
24 offers. (UF #39(d)(viii)). It also leased the suite where the Individual Defendants
18
25
19 operated the common enterprise. (Dkt. #120, at 12). Among other things, Secured
26
20 Merchants LLC, provided chargeback services to companies (UF #26(a), UF
27
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1    #26(b), UF #39(f)) that included the Corporate Defendants (UF #27(d)), a service
2    it termed “Chargeback Armor.” (UF #27(e)). This service was critical to retaining
2
3
3    Defendants’ payment processor accounts and maintaining the ability to accept
4
5
4    credit card payments from consumers—upon which the entire deceptive enterprise
6    hinged. Relief Defendant Chargeback Armor, Inc. likewise refuted consumer
5
7
6    chargebacks for unauthorized charges for Defendants’ skincare products. (UF
8
9
7    #41(d)(ii)). Chargeback Armor, Inc. was owned and operated by Defendants Alon
10
 8 Nottea, Doron Nottea, Roi Reuveni, and Alan Argaman, in addition to purported
11
 9 CEO Mike Costache. (UF #42(c)). Other companies served as shells to operate
12
10 merchant accounts, mailboxes, or performed other limited support functions for
13
14
11 the common enterprise. (UF #11-17, UF #20, UF #22-23, UF #27-31; see
15
12 generally Dkt. #120).
16
17
13         B. The Roles of the Individual Defendants.
18
14      The Individual Defendants in this action—Defendants (1) Alon Nottea, (2)
19
15
20 Doron Nottea, (3) Igor Latsanovski, (4) Alan Argaman, and (5) Roi Reuveni—
21
16 jointly operated this intricately constructed web of companies, along with the
22
17 other named defendants, to perpetrate the common enterprise’s abusive scheme.
23
18
24 (UF #32-40). Individuals are liable for injury to consumers resulting from a
25
19 company’s deceptive acts or practices when they either: participated directly in
26
20
27
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1     or had authority to control the acts or practices and had some knowledge of the
2     acts or practices.9
2
3
3
4                           1.   Alon Nottea (“Alon”)
5
4
                             i. Alon Participated In and Controlled or Had Authority to
6                            Control One or More of the Companies Forming the
5
7                            Common Enterprise
6
8             Defendant Alon Nottea oversaw or was involved in nearly every aspect of
9
7
   the day-to-day operation of the AuraVie common enterprise. (UF #32). His duties
10
 8
11 included soliciting investors (UF #32(j)); determining the business model and
 9
12 company organization (UF #32(k)); managing employees (UF #32(l)); procuring
13
10
   new merchant accounts and “merchant account guarantors” or “CEOs” (UF
14
11
15 #32(m)); managing complaint responses and threatened litigation (including
12
16 Better Business Bureau and Attorney General) (UF #32(n)); reviewing accounting
17
13
   and bookkeeping (UF #32(o)).; overseeing and implementing advertising and
18
14
19 marketing (UF #32(p)); addressing customer service issues (UF #32(q);
15
20 registering websites (UF #32(r)); and monitoring chargeback demands. (UF
21
16
   #32(s)).
22
17
23                      ii. Alon Had Knowledge or Consciously Avoided Knowledge
18                      of AuraVie’s Unlawful Acts or Practices
24
25
19
26
20    9
27        FTC v. Publ’g Clearing House, Inc., 104 F.3d 1168, 1170 (9th Cir. 1997).
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1           Because Alon oversaw virtually all aspects of the enterprise, he was fully
2     knowledgeable of the companies’ deceptive acts and practices. He knew
2
3
3     consumers were misled by the deceptive “risk-free trial” offers. In fact, Alon was
4
5
4     recorded strategizing how to continue the scheme, while maintaining a façade of
6     compliance. In a recorded meeting with Roi Reuveni, Paul Medina, and others,
5
7
6     Alon stated:
8
9
7                 [I]f you send them the terms, it can act like... we told
                  you that we’re going to charge... we notified you... you
10
 8                have ten days. Exactly. But when me and Paul tried it a
11                year ago, it didn’t work so good. It hurted us... If it’s
 9                done creatively, if it's done correctly and optimized...
12
                  not just try, it didn’t work.
13
10    (UF #32(u)(vi)).
14
11       Alon was well aware that reliance on hidden disclosures was unlawful. He
15
12 suggested that, “We must try 500 orders with the terms and conditions on the
16
17
13 invoice for customers. It's completely illegal to not have that there, at least.” (UF
18
14 #32(u)(v)). Nonetheless, because he believed that clear disclosure of the terms and
19
15 conditions of their “risk-free trial” offers would cause revenues to plummet, Alon
20
21
16 failed to correct the business practices. Instead, he prepared for an inevitable FTC
22
17 law enforcement action. He planned to defend the FTC lawsuit by creating a
23
24 façade of compliance. His plan, dubious as it was, included placing and recording
18
25
19 calls to dissatisfied customers, pretending to be a third party company and asking
26
20
27
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1     why the customers sought chargebacks. He believed that evidence of such calls
2     would placate the FTC:
2
3
3                 “And the FTC comes to me, I’m telling them, listen, I’m
4                 calling back my chargebacks and see what I did wrong?
5
4                 Do you know how that looks?... we[’]re going to call all
                  of our chargebacks, and say we are a third party.” 10
6
5
7           Alon likely believed an FTC enforcement action was inevitable because
6
8
      BunZai Media Group’s attorney had informed him that the AuraVie enterprise
9
7
      was violating FTC law.11 The attorney noted a myriad of problems with
10
 8
11 Defendants’ “risk-free trial” offers and websites, including that purported
 9
12
   disclosures were “buried in the T&C’s.” (UF 61(a)) In an email—sent over two
13
10
   years before the FTC’s enforcement action—BunZai’s attorney suggested
14
11
15 numerous changes to improve compliance with the law. Id. Most, if not all, of
12
16
   these suggestions were ignored.
17
13
18
14
19
15
20
21
16    10
      Alon elaborated on his plan again later in the recorded conversation, stating that
22 he would retain a file of recorded calls to present to the FTC: “[B]ut I want to
17 have a hundred call folder so that later on in two years when I have an FTC, here,
23
   here, here, I'm proactive. It’s like—it’s like a folder. Here you go. Here’s
18
24 everything. Your file recordings. Look at everything. Look at what we're doing to
25 be proactive for our consumer.” UF #32(u)(i).
19 11
      See UF #61(a) BunZai attorney William Rothbard provided a point-by-point
26
20 breakdown of the many ways the AuraVie marketing campaign violated FTC
27 law).
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1                       2.     Doron Nottea (“Doron”)
2                         i. Doron Participated In and Controlled or Had Authority to
2                         Control One or More of the Companies Forming the
3                         Common Enterprise
3
4
           Doron Nottea, Alon’s brother, was a principal member of the common
5
4
6    enterprise. Specifically, for various Corporate Defendants, acting alone or in
5
7    concert, Doron (1) held himself out as an owner (UF #34(d)); (2) managed
6
8
     employees of Corporate Defendants ( UF #34(e)); (3) controlled and managed
9
7
10 Corporate Defendants’ banking and merchant accounts (UF #34(f)); (4) performed
 8
11 bookkeeping and accounting duties (UF #34(g)); and (5) determined whether to
 9
12
   continue or cease operations of various Corporate Defendants. (UF #34(h)). Thus,
13
10
14 Doron unquestionably exercised control and participated in the common
11
15 enterprise to a degree that directly implicates him in the scheme.
12
16
                         ii. Doron Had Knowledge or Consciously Avoided
17
13                       Knowledge of AuraVie’s Unlawful Acts or Practices
18
14       Moreover, Doron’s participation and control far exceeds the limited
19
15
20 bookkeeping activities he claims. His financial management (UF #34(d)-(j);
21
16 #43(b)(v), his role supervising the employees (See, e.g., UF #34(e)), and his
22
17 oversight of payment to straw account holders directly implicates him in the
23
18
24 scheme and demonstrates the knowledge he had of the enterprise’s day-to-day
25
19 operations. Moreover, he was included on numerous emails discussing the
26
20
27
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1     enterprise’s business practices,12 even to the degree of reviewing packaging for
2     skincare products. (UF #39(e)(i)).
2
3
3           Doron evinced intimate knowledge of the scam in a text message he sent to
4
5
4     his own email address. (UF #34(j) . In it, he complained that “our volume is
6     down” due to regulatory scrutiny.13 He further discussed litigation the Defendants
5
7
6     were embroiled in with former employees, noting that former employees were
8
9
7     “threatening to file against all corporations and people involved,” which posed a
10
 8 “a very big exposure and risk to our entire entities.” (UF #34(j)).
11
 9       Moreover, in the same correspondence, Doron acknowledged the “high-risk
12
10 nature of our business model” and the possibility that their assets may be frozen
13
14
11 by the FTC. (UF #34(j)). This text message leaves no doubt that Doron fully
15
12 understood the illegal and deceptive nature of the enterprise he was running.
16
17
13
18
14
19
15
20
21
16 12 For example, Alon includes Nottea on an email he forwards from UMS Bank, in
22 which he discusses his plan for winding down the sales of AuraVie in part because
17 of FTC regulations. UF #34(i)(viii); UF #34(i)(viii).
23
   13
18    UF #34(j) (“Our volume is down to about 350 (100 from lifescript + 250 from
24
   un-compliant survey traffic per day ... ) And even that is a miracle since we can no
19 longer use advertorials for now ... As the lady (pam bondi) in the Florida Atty.
25
   Gen. is reviewing every single continuity skincare and diet advertisers in the
26
20 industry ... We are waiting for some more industry news to be released in order to
27 make an executive decision on whether or not to run blogs again ...”)
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1                       3.     Igor Latsanovski
2                         i. Igor Latsanovski Participated in and Controlled or Had
2                         Authority to Control One or More of the Companies
3                         Forming the Common Enterprise
3
4
           Igor Latsanovski was a principal member and investor in the AuraVie
5
4
6    common enterprise. He was a partner in BunZai Media Group, Inc. (UF #36(a),
5
7    (b), and (c) the principle entity in the common enterprise. (Dkt. #120, at 38).
6
8
     Although Latsanovski claimed that he was merely a “silent investor” in BunZai
9
7
10 Media Group, (Dkt. #106, at 6) he previously swore under oath that the company
 8
11 was his employer (UF #36(g))14 and that he held an officer’s position in the
 9
12
   company. (Dkt. #106, at 6). In a letter to the United States Citizenship and
13
10
14 Immigration Services describing his job responsibilities at CalEnergy,
11
15 Latsanovski represented that he was actively involved in “reviewing the activities
12
16
   and providing guidance to managed companies.” (UF #36(h)). Business
17
13
18 correspondence and emails confirm Defendant Latsanovski was personally
14
19 involved in managing the companies on a day-to-day level. (UF #36(q)). For
15
20
   example, in an August 2013 email, Latsanovski described his plan for the future
21
16
22 of the AuraVie companies and his own role within it. (UF #36(q)). Writing to his
17
23
   partners, co-Defendants Alon and Doron Nottea, Latsanovski outlined his
18
24
   thoughts concerning the leadership and growth of Pinnacle, which he described as
25
19
26 14
20    See also UF #36(g) (BunZai Media Group, Inc. Form W-2 listing Defendant
27 Latsanovski as an employee.).
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1     “our company.” (UF #36(q)). He provided his business partners with his opinion
2     on who should lead various departments of their company and, demonstrating
2
3
3     keen knowledge of their activities, he evaluated the relative strengths and
4
5
4     weaknesses of various employees. (UF #36(q)).
6           Other emails show Latsanovski participated in and controlled companies in
5
7
6     addition to Pinnacle Logistics, including ones in which he had no apparent
8
9
7     ownership. (UF #36(i) and (n)). And emails confirm Latsanovski was a decision-
10
 8 making business partner, rather than an uninformed investor that only provided
11
 9 loans. (See, e.g., UF #36(q)). In addition to managing the companies, Latsanovski
12
10 also propped up the common enterprise by financing the Corporate Defendants
13
14
11 despite his knowledge of Defendants’ illegal business practices. (Dkt. 120, at 35-
15
12 36). Latsanovski himself has acknowledged his funding of the enterprise was
16
17
13 essential to the companies’ continued operations. (Dkt. #106-2, at 30-31.)
18
14       Defendant Latsanovski owned, managed, and directly participated in the
19
15 business practices at issue in the scheme.
20
21
16                         ii. Igor Latsanovski Had Knowledge or Consciously
22                         Avoided Knowledge of AuraVie’s Unlawful Acts or
17                         Practices
23
18          Latsanovski knew or consciously avoided knowledge of his companies’
24

19 illegal business practices. In emails, Latsanovski demonstrated a keen
25
26
20 understanding of the company’s business model, its issues with chargebacks, its
27
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1     related entities, and its employees. (UF #36(j) and (l)). He was consistently
2     provided updates from the other Individual Defendants concerning the common
2
3
3     enterprise and in fact specifically inquired into company chargeback rates in his
4
5
4     email correspondence. (UF #36(l) and (m)). He was often at the Corporate
6     Defendants’ business premises (UF #36(i)(ix)), where he discussed chargebacks
5
7
6     with Defendant Alon Nottea. (UF #36(l)(iii). Moreover, he reviewed the
8
9
7     company’s books with employees and demonstrated a comprehensive knowledge
10
 8 of the financial workings and performance of the enterprise. (Ex. 36(i)).
11
 9 Moreover, he edited and emailed a spreadsheet containing sales, revenue, and
12
10 chargeback information and would periodically discuss and review sales data with
13
14
11 employees. (Ex. 36(i)(i)).
15
12      Further, Latsanovski’s claim that he was unaware of Defendants’ attempts
16
17
13 to deceive banks, consumers, and law enforcement is not credible. Latsanovski
18
14 has expertise in the payment-processing industry, and owned at least one merchant
19
15 service provider. (See Dkt. #90-1). In his emails, he also discussed and was
20
21
16 apprised of the companies’ issues with compliance. UF #36(m). The evidence
22
17 thus shows Latsanovski acted with full knowledge of the deception.
23
18
24
25
19
26
20
27
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1                       4.    Alan Argaman
2                        i. Alan Argaman Participated in and Controlled or Had
2                        Authority to Control One or More Companies Forming the
3                        Common Enterprise
3
4
           Defendant Argaman provided the common enterprise with a variety of
5
4
6    essential services without which the common enterprise could not have continued
5
7    operations. (UF #39(d)). Aside from his individual involvement in other aspects of
6
8
     the common enterprise,15 Argaman provided many services through Secured
9
7
10 Merchants LLC, a company he owns and jointly operated with other Individual
 8
11 Defendants. (UF #39).
 9
12
          Secured Merchants’s executive summary shows its founders were in the
13
10
14 business of selling skincare products:
11
15                       Over the past two years, the founders of Secure
12
16                Merchants saw first-hand every type of failure trap that
                  could have killed their skin care product company,
17
13                which today has monthly sales of $2.5 million or 25,000
18                orders.
14                       Thus the problems that our three initial services
19                solve for any DRM [Direct Response Marketing]
15
20                company are the core infrastructure needed to deal with
                  (1) the inevitable credit card chargebacks, (2) keeping
21
16                customers happy or allowing them an easy opt-out, and
22                (3) providing the most sophisticated customer record
17                management system. (UF #26(c)).
23
18
24 15
      See, e.g., UF # 39(d)(xii) (Argaman forwarding shipping rates for AuraVie
19 product to Doron Nottea); UF # 39(d)(ix) (providing potential purchase
25
   opportunity for common enterprise to Doron Nottea); UF #39(k) (working with
26
20 Doron Nottea regarding payments made to the Indian call center providing
27 customer services for the common enterprise).
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1
               Thus either Defendant Argaman himself was involved in the skincare
2
2
3     business or the other founders—founders Argaman denies the existence of16—are
3
4     the members touting such a history with managing a chargeback-ridden skincare
5
4
      business. In fact, through Secured Merchants LLC, Defendant Argaman received
6
5
7     at least $300,000 from the common enterprise. (Dkt. #120, at 25).
6
8
                               ii. Alan Argaman Had Knowledge or Consciously Avoided
9
7                              Knowledge of AuraVie’s Unlawful Acts or Practices
10      Defendant Argaman was included on numerous emails discussing the
 8
11
 9 companies’ business that far exceed the limited scope of his claimed involvement,
12
10 including emails discussing or including the enterprise’s unusually high
13
14 chargeback rates.17 And despite his claims to the contrary, numerous factors
11
15
12 should have alerted Defendant Argaman to the high probability of fraud.
16
17
13       Defendant Argaman knew, or consciously avoided knowing, that
18 Defendants marketed their products using deceptive risk free trial offers. (UF
14
19
15 #39(h)). Moreover, he knew, or should have known, that Defendants took
20
16 significant measures to disguise their common enterprise. (UF #39(i) and (j)).
21
22 Argaman knew Defendants required a platform for responding to the large number
17
23
18 of chargebacks they received—in fact, he created such a platform for Defendants
24
25
19
      16
26         UF #43(b)(vi).
20    17
27         See UF #39(h), (i), (j), and (l).
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1     and assisted them in responding to such chargebacks without regard for whether
2     the high number of chargebacks indicated fraud. (UF #39(f) and (g)). Lastly,
2
3
3     Defendant Argaman knew, or should have known, that consumers had a valid
4
5
4     basis for requesting the chargebacks he contested: Chargeback Armor claimed to
6     investigate all chargebacks they contested. (UF #41(h)).
5
7
6
8                        5.    Roi Reuveni
9
7                         i. Roi Reuveni Participated in and Controlled or Had
                          Authority to Control One or More of the Companies
10                        Forming the Common Enterprise
 8
11
 9          Defendant Reuveni, cousin of Doron and Alon, supervised the customer
12
10 service and chargeback departments of the AuraVie common enterprise. (UF
13
14 #37(g)). Reuveni participated in the common enterprise since at least early 2011.
11
15
12 (UF #37(h)). Reuveni permitted Defendants to use his information to open the
16
13 shell corporations DMA Media Holdings, Inc. (UF #37(a)) and Agoa Holdings,
17
18 Inc. (UF #37(k)). Both companies were used to process consumers’ credit cards
14
19
15 for the AuraVie products. (UF #37(a) and (j)).
20
21
16      Reuveni also worked for Secured Merchants. (UF #37(i)). Moreover,
22 Reuveni was also Chief Operating Officer and a “consultant” to Chargeback
17
23
18 Armor, Inc., (Dkt. #120, at 33) the company Defendants used to fight customers’
24

19 legitimate chargeback demands, and assisted in managing its operations. (UF
25
26 #37(b); see also UF #37(f); (l); and (m)).
20
27
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1                          ii. Roi Reuveni Knew, or Consciously Avoided Knowledge
                           of, Defendants’ Unlawful Acts or Practices
2
2
3          Defendant Reuveni knew of the deceptive acts and practices of the common
3
4    enterprise. In fact, he was integral to carrying out these acts and could not have
5
4
     fulfilled his duties within the common enterprise without such knowledge. (See
6
5
7    37(n); (o); and (p)). Countless emails show Reuveni discussing and being included
6
8
     on emails concerning consumer complaints (See UF #37(g)(ix); UF #37(t)),
9
7
   chargebacks (See UF #37(r) and (s)), and how best to handle them. (See, e.g, UF
10
 8
11 #37(q); see also UF 37(p)). He continued to participate in and promote the
 9
12
   deceptive operation despite knowing the consumer injury it was causing.
13
10
      VI. LEGAL ARGUMENT
14
11   A. Summary Judgment Standard.
15
12
16       Summary judgment is proper if the pleadings, depositions, answers to
17
13 interrogatories, and admissions on file, together with the affidavits, if any, show
18
14 that there “is no genuine dispute as to any material fact and the movant is entitled
19
15
20 to judgment as a matter of law.” FED. R. CIV. P. 56(a). The moving party “bears
21
16 the initial responsibility of informing the district court of the basis for its motion.”
22
17 Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party
23
18
24 satisfies its burden under Rule 56(c), the burden shifts to the non-moving party to
25
19 produce facts to show there is a genuine issue for trial. Matsushita Elec. Indus.
26
20 Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
27
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1          Summary judgment is proper when a rational trier of fact would not be able
2    to find for the nonmoving party on the claims at issue. Id.; Harvill v. Westward
2
3
3    Commc’ns, LLC, 443 F.3d 428, 433 (5th Cir. 2005). Only disputes over facts that
4
5
4    might affect the outcome of the case would properly preclude summary judgment.
6    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Thus, any opposition
5
7
6    to this motion must set forth admissible evidence that is significantly probative,
8
9
7    and not merely colorable, of any fact that is claimed to be disputed. Id. at 249.
10
 8       As the Supreme Court has held: “The mere existence of a scintilla of
11
 9 evidence . . . will be insufficient; there must be evidence on which the [fact finder]
12
10 could reasonably find for [the opposing party].” Id. at 252; Hawking v. Ford
13
14
11 Motor Credit Co., 210 F.3d 540, 545 (5th Cir. 2000). Because Defendants cannot
15
12 come forward with any probative controverting evidence showing that there is a
16
17
13 genuine issue for trial, the Court should grant summary judgment.
18
14   B. The FTC is Entitled to Summary Judgment as to Count I Because
19     Defendants Failed to Disclose Material Terms of Their Offer
15
20
21        Section 5(a) of the FTC Act empowers the FTC to prevent “deceptive acts
16
22 or practices in or affecting commerce.” 15 U.S.C. § 45(a) (2006). An act or
17
23
   practice is deceptive if “first, there is a representation, omission, or practice that,
18
24
25 second, is likely to mislead consumers acting reasonably under the circumstances,
19
26 and third, the representation, omission, or practice is material.” FTC v. Gill,
20
27
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1    265 F.3d 944, 950 (9th Cir. 2001); FTC v. Pantron I Corp., 33 F.3d 1088, 1095
2    (9th Cir. 1994) (quoting and adopting the standard set forth in In re Cliffdale
2
3
3    Assocs., 103 F.T.C. 110, 164–65 (1984)). A representation, omission, or practice
4
5
4    is material if it “‘involves information that is important to consumers and, hence,
6    likely to affect their choice of, or conduct regarding, a product.’”18 FTC v.
5
7
6    Cyberspace.com LLC, 453 F.3d 1196, 1201 (9th Cir. 2006) (quoting Cliffdale
8
9
7    Assocs., 103 F.T.C. at 165).
10
 8       The evidence shows that AuraVie’s scheme centered around deceptive
11
 9 omissions. Specifically, after representing that they were offering a “risk-free
12
10 trial” offer, Defendants failed to disclose the material terms of that offer.
13
14
11 Defendants failed to disclose that they would use consumers’ credit or debit card
15
12 information to charge for the full costs of the products after a limited time. (UF
16
17
13 #45, #47-49, #59-62). Defendants failed to disclose the dates that the trial period
18
14 began and ended. (UF #56-58, UF #61(a)). Defendants failed to disclose that
19
15 consumers who accepted a “risk-free trial” offer would be automatically enrolled
20
21
16 in a negative option continuity plan with additional charges. (UF #56-58).
22
17 Defendants failed to disclose the costs of the continuity plan and the frequency
23
   18
18    The FTC need not prove actual reliance by each individual consumer. Figgie
24
   Int’l, 994 F.2d at 605. Requiring such proof would defeat the intent of the FTC
19 Act and would frustrate prosecutions of large consumer redress actions. Id.
25
   Instead, a presumption of actual reliance arises once the FTC has proved that the
26
20 defendant made material misrepresentations, that they were widely disseminated,
27 and that consumers purchased the defendant’s product. Id. at 605–06.
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1    and duration of the recurring charges. (UF #51-61). Defendants also failed to
2    disclose the means consumers could use to cancel the continuity plan. (UF #55-
2
3
3    58). Finally, Defendants failed to disclose the limitations of their refund policies.
4
5
4    (UF #62-67).
6          These failures to disclose were likely to mislead reasonable consumers.
5
7
6    Indeed, Defendants knew from consumer complaint and chargeback activity that
8
9
7    consumers were being misled and believed the website offers were advertising
10
 8 free products. (See, e.g., UF #32(s) and (u); UF #34(j); UF #39(f) and (g); UF
11
 9 #65). Notably, the FTC is not required to show an intent to deceive, since
12
10 consumers can be equally harmed by both deliberate and negligent conduct. FTC
13
14
11 v. World Travel Vacation Brokers, Inc., 861 F.2d 1020, 1029 (7th Cir. 1988); FTC
15
12 v. NCH, Inc., 1995-2 Trade Cas. (CCH) ¶71,114, at 75,346 (D. Nev. 1995)
16
17
13 (O’Connor, J.); FTC v. Pioneer Enters., Inc., 1992-2 Trade Cas. (CCH) ¶70,043,
18
14 at 69,156 (D. Nev. 1992) (George, C.J.). However, in this case, the evidence
19
15 shows that Defendants did indeed intend to deceive consumers. (See UF #61(a),
20
21
16 UF #32). They buried disclosures that were material to Defendants’ sales offer in
22
17 obscure hyperlinks, to trick consumers into paying for Defendants’ products. (See
23
24 UF #49; UF #56, UF #59). Defendants’ failure to clearly and conspicuously
18
25
19 disclose the material terms of their offer was a deceptive omission that violated
26
20 Section 5 of the FTC Act.
27
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1      C. The FTC is Entitled to Summary Judgment as to Count II Because
          Defendants Falsely Represented that their Trial Offer was “Risk Free”
2
2
3           There is no genuine dispute that Defendants falsely represented to
3
4
     consumers that its products were “Free” or “Risk Free.” (UF #47-50). These
5
4
6    representations were deceptive under Section 5 of the FTC Act because they were
5
7    both likely to mislead consumers acting reasonably and material to consumers’
6
8
     purchasing decisions. See FTC v. Gill, 265 F.3d 950; FTC v. Pantron I Corp., 33
9
7
10 F.3d 1095.
 8
11        “To determine whether a representation, omission, or practice is likely to
 9
12
   mislead, the Court considers the overall net impression the representation creates.”
13
10
14 Publrs. Bus. Servs., Inc., 821 F. Supp. 2d at 1223 (citing Cyberspace.Com, 453
11
15 F.3d at 1200). Here, Defendants’ websites prominently touted that products were
12
16
   offered “Free” in large, colorful font, often in multiple places. This created a “net
17
13
18 impression” that Defendants’ product was free (except for the disclosed nominal
14
19 shipping fee). That impression was likely to mislead reasonable consumers
15
20
   because it was false: Defendants actually intended to charge up to $97.88 for the
21
16
22 products. (UF #51-53). There is no question that a false representation that a
17
23 product is “free” or “risk free” is material and violates Section 5. See FTC v.
18
24
   Commerce Planet, Inc., 878 F.Supp.2d 1048, 1068 (C.D. Cal. 2012) (“This
25
19
26 misrepresentation is undoubtedly material because the information about a free kit
20
27 goes to the cost of the product, an important factor in a consumer’s decision on
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1    whether or not to purchase a product. The notion that consumers will get a free kit
2    makes it more likely that they will unwittingly provide their credit card
2
3
3    information, thinking they are only paying for shipping and handling, when in
4
5
4    fact, they are obligating themselves to pay a subscription fee for the continuity
6    program.”)
5
7
6          To be clear, the fact that some of Defendants’ websites contained hidden
8
9
7    disclosures of some, but often not all, of the charges a consumer would incur by
10
 8 accepting the “risk free” offer did not cure Defendants’ deception. To be effective,
11
 9 a disclosure must be sufficiently clear and prominent so that the “overall net
12
10 impression” of the sales offer is truthful. See Cyberspace.Com, 453 F.3d at 1200
13
14
11 (“A solicitation may be likely to mislead by virtue of the net impression it creates
15
12 even though the solicitation also contains truthful disclosures.”). 19 As Defendants
16
17
13
18
14 19
19    See also FTC v. Direct Marketing Concepts, Inc., 624 F.3d 1, 12 (1st Cir. 2010)
15 (“[d]isclaimers or qualifications in any particular ad are not adequate to avoid
20 liability unless they are sufficiently prominent and unambiguous to change the
16 apparent meaning of the claims and leave an accurate impression”) (quoting
21
   Removatron Intern. Corp. v. FTC, 884 F.2d 1489, 1497 (1st Cir. 1989)); FTC v.
22
17 Brown & Williamson Tobacco Corp., 778 F.2d 35, 43 (D.C. Cir. 1985) (holding
23 that an advertisement’s description of cigarette tar content was deceptive despite a
18 fine print disclosure at the bottom of the ad); FTC v. Porter & Deitsch, 605 F.2d
24
   294, 301 (7th Cir. 1979) (upholding FTC and finding that disclosures “buried in
19 small print” were inadequate to qualify weight loss claims in advertising); FTC v.
25
   Gill, 71 F. Supp. 2d 1030, 1044 (C.D. Cal. 1999) (disclaimers made in contract for
26
20 credit repair services were insufficient to counteract advertising claims about the
27 service).
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1    knew, consumers did not see the disclosures that they buried in inconspicuous
2    hyperlinks. (UF #56-61). Thus, summary judgment on Count II is warranted.
2
3
3      D. The FTC is Entitled to Summary Judgment as to Count III Because
4         Defendants Falsely Represented that their Better Business Bureau
5
4         Rating
6          Defendants falsely represented that they were accredited by the Better
5
7
6    Business Bureau (“BBB”) with an “A-” rating. (UF #49-50). These
8
9
7    representations were likely to mislead reasonable consumers because they were
10
 8 false; AuraVie had its accreditation revoked over a year before the filing of this
11
 9 suit and had an “F” rating with the BBB. (UF #50). Express product claims are
12
10 presumed to be material and reliance upon such claims is presumptively
13
14
11 reasonable. FTC v. Pantron I Corp., 33 F.3d 1088, 1095-96 (9th Cir. 1994); FTC
15
12 v. Five-Star Auto Club, Inc., 97 F. Supp. 2d 502, 528 (S.D.N.Y. 2000).
16
17
13 Accordingly, Defendants’ misrepresentation was materially deceptive and violated
18
14 Section 5 of the FTC. Therefore, summary judgment on Count III is warranted.
19
15
20           E. The FTC is Entitled to Summary Judgment as to Count IV
                 Because Defendants Unfairly Charged Consumers without
21
16               Authorization
22       An act or practice is unfair, and violates Section 5(a) of the FTC Act, if it
17
23
18 causes, or is likely to cause, substantial injury to consumers that is not reasonably
24

19 avoidable and is not outweighed by countervailing benefits to consumers or
25
26
20
27
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1    competition. 15 U.S.C. § 45(n). Defendants’ unauthorized charges to consumer
2    credit cards and bank accounts were unfair.
2
3
3          Courts have regularly found unauthorized billing practices to be unfair.
4
5
4    FTC v. Inc21.com, 745 F. Supp. 2d 975, 1003-05 (N.D. Cal. 2010) (unauthorized
6    charges to telephone bills were unfair); FTC v. J.K. Publ’ns, 99 F. Supp. 2d 1176,
5
7
6    1203 (C.D. Cal. 2000) (unauthorized credit card charges); FTC v. Windward
8
9
7    Mktg., Ltd., No. 96-615F, 1997 WL 33642380, at *10, 13 (N.D. Ga. Sept. 30,
10
 8 1997) (unauthorized bank debits).
11
 9       Three uncontroverted facts irrefutably prove that Defendants charged
12
13
10 consumer credit cards and bank accounts without authorization. First, Defendants’
14
11 records and those of its processors show that it processed thousands of charges to
15
12 consumer credit card accounts. Second, Defendants’ victims have testified that
16
17
13 they did not authorize those charges, or even see a disclosure regarding such
18
14 charges. Thousands of these consumers complained directly to Defendants, to
19
20 banks, the Better Business Bureau, or to law enforcement. Third, Defendants’
15
                                               20
21
16 chargeback rates rose as high as 35 percent. These rates were consistent across
22
17 Defendants’ many merchant accounts. These appallingly high rates accord no
23
18
24
   20
25
19    See Dkt. #121-1, at 8 (“Analysis of the entities' chargeback rates indicates the
   rates for RD’s ranged between 14% and 35% for the various Defendant entities.
26
20 The chargeback ratio appears significantly higher than the industry acceptable
27 chargeback rates of 1%.”).
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1     explanation other than unauthorized charges.21
2              Consumers nationwide were injured by Defendants’ practices. Taking
2
3
3     consumers’ money without authorization is presumed to cause substantial injury.
4
5
4     See J.K. Publ’ns, 99 F. Supp. 2d at 1201 (finding substantial injury where
6     “consumers were injured by a practice for which they did not bargain”). The
5
7
6     injury is substantial even if the amount taken is relatively small. FTC v. Pantron I
8
9
7     Corp., 33 F.3d 1088, 1102 (9th Cir. 1994), cert. denied, 514 U.S. 1083 (1995)
10
 8 (“[C]onsumer injury is substantial when it is the aggregate of many small
11
 9 individual injuries.”). Indeed, it is a well-established principle in the federal courts
12
10 that large numbers of consumer complaints and high chargeback, return, and
13
14
11 refund rates are convincing evidence that a consumer did not agree to be charged.
15
12 See FTC v. MacGregor, 360 Fed App’x 891, 894 (9th Cir. 2009) (holding that
16
17
13 high refund and return rates, along with high volume of complaints, are probative
18                                          22
14 of misrepresentations and other abuses).
19
15
20
      21
21
16   Defendants’ high chargeback rates existed despite their use of dozens of shell
   companies, merchant accounts, and billing descriptors. These practices served no
22 other purpose than to conceal the immense common enterprise and its
17
23 beneficiaries from its victims, payment processors, banks, and law enforcement.
18 See J.K. Publ’ns, 99 F. Supp. 2d at 1202-3 (finding that defendants’ use of five
24 different merchant accounts and four fictitious business names in one year was
19 evidence of unauthorized billing).
25
26
20 22 See also FTC v. Commerce Planet, 878 F. Supp. 2d 1048, 1075-76 (C.D. Cal.
27 2012) (high volume of consumer complaints and excessive chargeback rates
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1           In addition, consumers had no means of reasonably avoiding charges that
2     had not been effectively disclosed to them. (UF #51-62). Consumers cannot
2
3
3     reasonably avoid an unauthorized charge that they only discover after it occurs.
4
5
4     Inc21.com, 745 F. Supp. 2d at 1004 (“[T]he burden should not be placed on
6
5     defrauded customers to avoid charges that were never authorized to begin with.”).
7
6           Finally, consumers do not benefit from being debited or charged for
8
9
7     products or services “they never agreed to purchase, didn’t know were being
10
 8 provided to them, and never wanted in the first place.” Inc21.com, 745 F. Supp. 2d
11
 9 at 1004-05; see also Neovi, 604 F.3d at 1157 (consumers are “injured by a practice
12
13
10 for which they did not bargain”); J.K. Publ’ns, 99 F. Supp. 2d at 1202.
14
11       Because Defendants’ unauthorized charges caused, or were likely to cause,
15
12 substantial injury to consumers that was not reasonably avoidable and was not
16
17
13    outweighed by countervailing benefits to consumers or competition, Plaintiff is
18
14    reaching 8 percent consistent with fraud); Grant Connect, 827 F. Supp. 2d at 1221
19
      (“[H]igh number of cancellations, refunds and chargebacks suggest that in fact
15
20    consumers were deceived about what they were ordering.”); J.K. Publ’ns, 99 F.
21    Supp. 2d at 1203 (finding unauthorized charging where, among other things, more
16    than 50 percent of consumers contacting defendants claimed they had not ordered
22    defendants’ products and there were 7.3 percent chargebacks); FTC v. QT, Inc.,
17    448 F. Supp 2d 908, 936 (N.D. Ill. 2006), aff’d 512 F.3d 858 (7th Cir. 2008)
23
      (refund rate of 25 percent indicates deception); FTC v. Crescent Publ’g Grp., 129
18
24    F. Supp. 2d 311, 315, 322 (S.D. N.Y 2001) (lack of consumer authorization
25    evidenced by “strikingly high chargeback level that averaged approximately 10.51
19    percent.”); Windward Mktg., 1997 WL 33642380, at *6, 12 (concluding from 40
26    percent return rate that defendant knew debits were unauthorized).
20
27
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1     entitled to summary judgment on Count IV of its Complaint.
2
2              F. The FTC is Entitled to Summary Judgment as to Count V
3                 Because Defendants Violated the Restore Shoppers Online
3
4                 Confidence Act
5
4
            Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging
6
5
      consumers for goods or services sold on the Internet through a negative option
7
6
8     feature, unless (1) the seller clearly and conspicuously discloses all material terms
9
7
   of the transaction before obtaining the consumer’s billing information, (2) obtains
10
 8
11 the consumer’s express informed consent before making the charge, and (3)
 9
12 provides a simple mechanism to stop recurring charges. See 15 U.S.C. § 8403
13
10
      (2006).23 Defendants’ continuity plans are a negative option feature, as defined by
14
11                                       24
15 the TSR. 16 C.F.R. § 310.2(u) (2006). Under Section 5 of ROSCA, 15 U.S.C.
12
16 § 8404, a violation of ROSCA is a violation of a rule promulgated under Section
17
13
   18 of the FTC Act, 15 U.S.C. § 57a.
18
14
19 23
      It is unlawful “for any person to charge or attempt to charge any consumer for
15
20 any goods or services sold in a transaction effected on the Internet through a
   negative option feature (as defined in the Federal Trade Commission’s
21
16 Telemarketing Sales Rule in part 310 of title 16, Code of Federal Regulations)”
22 without clearly and conspicuously disclosing material terms, obtaining a
17 consumer’s informed consent, and providing a simple mechanism to stop
23
   recurring charges. Id.
18
24
25
19 24 The TSR defines a negative option feature as “an offer or agreement to sell or
26 provide any goods or services, a provision under which the consumer's silence or
20 failure to take an affirmative action to reject goods or services or to cancel the
27 agreement is interpreted by the seller as acceptance of the offer.”
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1          Defendants violated ROSCA in three ways. First, Defendants failed to
2    disclose clearly all material terms of their negative option continuity plan. (UF
2
3
3    #51-62). The terms, when provided at all, were buried in fine print hyperlinks on
4
5
4    pages dominated by “risk free” and “trial” offers. (UF #56, UF #59). The
6    unusually (and unconscionably) onerous return and chargeback policies were
5
7
6    buried in an obscure, small “T&C” hyperlink filled with fine print and
8
9
7    impenetrable jargon. (Id.).
10
 8       Second, Defendants routinely charged consumers for continuity plans
11
 9 without obtaining their express informed consent. Defendants solicited
12
10 consumers’ credit card information purportedly for the purposes of paying a
13
14
11 nominal shipping and handling fee. (UF #48, #50). Defendants then used that
15
12 billing information to charge consumers—without consumers’ authorization or
16
17
13 knowledge—up to $97.88. (UF #51-62).
18
14       Third, Defendants failed to provide a simple mechanism for cancelling the
19
15 continuity plan. Chargeback demands and return requests were met by a level of
20
21
16 resistance from Defendants and their employees that was designed to obstruct any
22
17 refunds and to threaten and intimidate consumers who challenged Defendants’
23
24 unlawful practices. (UF #9-41). Their intimidation tactics included telling
18
25
19 consumers that chargeback requests were almost never successful to informing
26
20 consumers that chargeback requests would be treated by Defendants as fraudulent
27
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1     and were subject to potential civil and criminal investigation and even
2     prosecution. (Id.) Plaintiff is entitled to summary judgment on Count V of the
2
3
3     Complaint.
4
5
4                 G. The FTC is Entitled to Summary Judgment as to Count VI
6                    Because Defendants Violated the Electronic Fund Transfer Act
5                    and Regulation E
7
6              The Electronic Fund Transfer Act, and its implementing statute
8
9
7     Regulation E, regulate the circumstances under which a merchant may make

10 regularly recurring debits from a consumer’s bank account. EFTA and Regulation
 8
11
 9 E require that, before a merchant can make such recurring debits, it must obtain a
12
                                                                           25
10 written authorization signed or similarly authenticated by the consumer.
13
14       EFTA and Regulation E work hand-in-hand. Section 907(a) of EFTA, 15
11
15
12 U.S.C. § 1693e(a), provides that a “preauthorized electronic fund transfer from a
16
13 consumer’s account may be authorized by the consumer only in writing, and a
17
18 copy of such authorization shall be provided to the consumer when made.”
14
19
15 Section 903(9) of EFTA, 15 U.S.C. §1693a(9), provides that the term
20
16 “preauthorized electronic fund transfer” means “an electronic fund transfer
21
22 authorized in advance to recur at substantially regular intervals.” Section
17
23
18 205.10(b) of Regulation E, 12 C.F.R. § 205.10(b), provides that “[p]reauthorized
24
25
19
      25
26         15 U.S.C. § 1693e(a) (2006); 12 C.F.R. § 205.10(b) (2006).
20
27
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1     electronic fund transfers from a consumer’s account may be authorized only by a
2     writing signed or similarly authenticated by the consumer. The person that
2
3
3     obtains the authorization shall provide a copy to the consumer.” Section 205.10
4
5
4     of the Federal Reserve Board’s Official Staff Commentary to Regulation E, 12
6     C.F.R. §205.10(b), Supp. I, provides that “[t]he authorization process should
5
7
6     evidence the consumer’s identity and assent to the authorization.” Id. ¶10(b), cmt
8
9
7     5. The Official Staff Commentary further provides that “[a]n authorization is
10
 8 valid if it is readily identifiable as such and the terms of the preauthorized transfer
11
 9 are clear and readily understandable …” Id. ¶ 10(b), cmt 6.
12
13
10          As demonstrated above, Defendants’ business practices failed to comply
14
11 with EFTA for several reasons. First, Defendants’ terms and conditions regarding
15
12 recurring monthly fees were not clear and readily understandable. In fact, this
16
17
13 information was concealed in documents available only by hyperlink or in hard-
18
14 to-read disclosures. Further, Defendants’ websites were covered with claims that
19
15 their offer was “risk free” and other directly contradictory statements.
20
21
16       Second, Defendants’ websites or terms and conditions pages could not
22
17 serve as the consumer's “copy” of the authorization, as required by 15 U.S.C.
23
24 § 1693e(a), because it was not signed or similarly authenticated by the consumer
18
25
19 and did not evidence the consumer’s identity and assent to additional transfers. In
26
20 short, consumers who purchased Defendants’ products using their debit cards
27
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1     were not authorizing recurring debits from their bank accounts and never received
2     a copy of any purported authorization for such debits.
2
3
3           Accordingly, summary judgment on Count VI is warranted.
4
5
4              H. The FTC is Entitled to Summary Judgment as to Count VII
6                 Because (1) Relief Defendant Chargeback Armor, Inc. Received
5                 Funds From Defendants Traceable to Defendants’ and (2) the
7                 Company is an Asset of the Individual Defendants
6
8
            The undisputed facts demonstrate that the Relief Defendant has no legal or
9
7
10 equitable title to the funds it received gratuitously from the Individual Defendants
 8
11
   and other Corporate Defendants engaged in the scheme. “The broad equitable
 9
12
      powers of the federal courts can be employed to recover ill-gotten gains for the
13
10
14 benefit of the victims of wrongdoing, whether held by the original wrongdoer or
11
15
   by one who has received the proceeds after the wrong.”26 Here, disgorgement of
12
16
17 the revenues Chargeback Armor generated in its furtherance of the scheme is the
13
18 minimal equitable relief that should be levied by this Court. And this Court should
14
19
   grant just such relief.
15
20
21      Under the FTC Act, disgorgement from a relief defendant is warranted
16
22 where: (1) the relief defendant has received ill-gotten gains; and (2) does not have
17
23
18
24
25
19 26 FTC v. Ivy Capital, Inc., et al. 2013 WL 1224613, *18 (D. Nev. Mar. 26, 2013)
26 quoting SEC v.Colello, 139 F.3d 674, 676 (9th Cir. 1998).
20
27
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1     a legitimate claim to those gains.27 Once demonstrated, the appropriate remedy is
2     an equitable monetary judgment equivalent to the amount of ill-gotten gains that
2
3
3     the relief defendant received.28 Moreover, it is well-established that government
4
5
4     agencies, in an effort to maximize the recovery of funds taken through fraud, may
6     pursue individuals or companies even if they are no longer in possession of the ill-
5
7
6     gotten assets.29
8
9
7              The evidence shows that the Relief Defendant received substantial transfers
10
 8 of funds traceable directly or indirectly to the unlawful conduct of AuraVie.
11
 9 (UF #41). Chargeback Armor, Inc. was a key component to the continuation of the
12
      27
13
10       See FTC v. Ivy Capital,Inc., et al., 2013 WL 1224613, * 18 (relief defendant
14    who was responsible for keeping the books and for various operations or
11    administrative tasks is liable for disgorgement); FTC v.Transnet Wireless Corp.,
15    506 F. Supp. 2d 1247, 1273 (S.D. Fla. 2007) (relief defendant liable for the full
12
16    amount off ill-gotten gains she received when she provided no service to the
      corporate defendants); SEC v. Colello, 139 F.3d 674, 677 (9th Cir. 1998)
17
13    (summary judgment against a relief defendant who failed to show he had a
18    legitimate claim to the ill-gotten gains he received); FTC v. Inc21.com Corp., 745
14    F.Supp.2d 975, 1009 (N.D. Cal. 2010), aff’d 475 Fed. Appx. 106 (9th Cir. 2012)
19    (relief defendant liable for ill-gotten gains as he was “president” of a corporation
15
20    “in name only” and provided no services to the corporation); FTC v. Holiday
      Enterp, 2008 WL 953358, * 12 (N.D. Ga. Feb. 5, 2008) (relief defendant liable as
21
16    “[s]he never performed any work for the [defendant] companies (except for
22    occasional signing of checks) and would not have a legitimate claim to properties
17    because of any work performed for the Holiday companies”); FTC v. Think
23    Achievement Corp., 144 F. Supp. 2d 1013, 1020-22 (N.D. Ind. 2000).
18
24    28
           See FTC v. Transnet Wireless Corp., 506 F. Supp. 2d at 1273.
   29
25
19    See, e.g., CFTC v. Gresham, No. 3:09-cv-75, 2012 WL 1606037, *3 (N.D. Ga.
   May 7, 2012) (“An individual may be a proper relief defendant even if she does
26
20 not possess the actual ill-gotten gains if she previously received benefits that were
27 derived from another person’s unlawful conduct.”).
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1    scheme and received transfers in exchange for aiding the enterprise’s ability to
2    manage and abusively contest chargeback demands from consumers. (UF #41(d)).
2
3
3    Because these payments were generated by deceiving consumers, Chargeback
4
5
4    Armor does not have a legitimate claim to them and should be forced to disgorge
6    those funds. Therefore, summary judgment on Count VII should be granted.
5
7
6
8             I.     Defendants are Each Liable for the Legal Violations
9
7                  1. The Corporate Defendants Operated as a Common Enterprise

10      Where, as here, Corporate Defendants act as a common enterprise, each
 8
11
 9 may be held jointly and severally liable for the unlawful acts and practices of the
12
10 other. Grant Connect, 827 F. Supp. 2d at 1216; J.K. Publ’ns, 99 F. Supp. 2d at
13
14
11 1202. “To determine whether a common enterprise exists, the Court considers
15
12 factors such as: common control; the sharing of office space and officers;
16
13 transacting business through a maze of interrelated companies; the commingling
17
18
14 of corporate funds and failure to maintain separation of companies; unified
19
15 advertising; and evidence that reveals that no real distinction exists between the
20
21
16 corporate defendants.” Id. (quoting FTC v. Nat’l Urological Grp., Inc., 645 F.
22
17 Supp. 2d 1167, 1182 (N.D. Ga. 2008)); see also FTC v. Ivy Capital, Inc., No. 11-
23
18 283, 2013 WL 1224613 at *13 (D. Nev. Mar. 26, 2013) (common enterprise
24
25
19 existed where there was common control, shared office space, interrelated
26
20 activity, and commingled funds). When determining whether a common
27
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1    enterprise exists, “the pattern and frame-work of the whole enterprise must be
2    taken into consideration.” Del. Watch Co. v. FTC, 332 F.2d 745, 746-47 (2d Cir.
2
3
3    1964) (affirming company was liable because it was part of a “maze of
4
5
4    interrelated companies”). The Ninth Circuit has also held that “entities constitute
6    a common enterprise when they exhibit either vertical or horizontal commonality
5
7
6    – qualities that may be demonstrated by a showing of strongly interdependent
8
9
7    economic interests or the pooling of assets and revenues.” 30
10
 8       In this case, all indicia of common enterprise that federal courts have
11
 9 recognized as demonstrating collective action—(1) common control; (2) the
12
10 sharing of office space and officers; (3) whether business is transacted through a
13
14
11 maze of interrelated companies; (4) the commingling of corporate funds and
15
12 failure to maintain separation of companies; (5) unified advertising; (6) pooled
16
17
13 resources and staff; and (7) evidence which reveals that no real distinction existed
18                                                31
14 between the Corporate Defendants—are met. Each of the Individual Defendants
19
15 controlled multiple entities, and each served in various roles at other of the
20
21
16 enterprise’s entities as well.
22
17
23
18
24 30
      FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1143 (9th Cir. 2010)
25
19 31 FTC v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176, 1202 (C.D. Cal. 2000); FTC v.
26 Wolf, 1997-1 Trade Cas. (CCH) ¶ 71,713, at 79,080 (S.D. Fla. 1997).
20
27
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1          (1) Common control: The Corporate Defendants and shell companies
2    operated as a single economic unit under common control using shared resources
2
3
3    to effect their mutual goals of charging consumers without their authorization and
4
5
4    evading detection. (UF #42).
6           (2) Common offices: As detailed above, many of the Corporate Defendants
5
7
6    have no business premises, employees, or business function except to process
8
9
7    charges for Defendants’ “risk free trial.”32 Many, if not all, of the Corporate
10
 8 Defendants operated out of a single office, which was leased by Secured
11
 9 Commerce LLC (co-owned by Doron Nottea and Alan Argaman) but housed the
12
10 operations of substantially all of the entities involved in the scheme. Several other
13
14
11 factors show the intertwined nature of these companies: BunZai and Pinnacle
15
12 share phone numbers, mailing addresses, and dozens of employees.
16
17
13        (3) Network of interrelated companies: Third, all Corporate Defendants are
18
14 owned and operated by Defendants, their family members, or associates, and all
19
15 participated in the scam of luring consumers to provide billing information with
20
21
16 false offers of “risk free trials.” The shell entities all served the common purpose
22
17 of generating revenues through the Defendants’ fraudulent scheme while evading
23
24 detection by payment processors, while Defendants such as SBM Management,
18
   32
25
19    Cf. J.K. Publications, Inc., 99 F. Supp. 2d at 1202 (finding a common enterprise
   where “the corporate defendants utilized at least five different merchant accounts
26
20 and four fictitious business names to process over $40 million in credit and debit
27 card transactions”).
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1     Inc. and CalEnergy, Inc. served as intermediary entities transferring funds from
2     the merchant accounts to a web of entities whose purposes ranged from the
2
3
3     scheme’s operations to simply existing to funnel funds to Individual Defendants
4
5
4     such as Alon Nottea (Apogee Network LLC and Adageo, LLC) and Roi Reuveni
6     (Trigen, L.L.C.).
5
7
6            (4) Commingling of corporate funds: Fourth, the finances for almost all of
8
9
7     the Corporate Defendants were derived from the sale of the same products. (UF
10
 8 #42.) The finances of these Corporate Defendants were handled by the same
11
 9 managers and employees. (UF #42(d)).
12
13
10          (5) Unified advertising: As discussed above, the AuraVie scheme had a
14
11 unified advertising company in Media Urge, Inc. The common enterprise used the
15
12 same Internet advertising for the same product, regardless of what shell company
16
17
13 processed the charge. (UF #43(a)); (UF #19).
18
14        (6) Pooled resources and staff: As discussed above, the same principal
19
15 actors, most of whom are Individual Defendants in this action, owned and
20
21
16 operated the numerous corporate entities associated with this scheme. (UF #43).
22
17 Despite the extensive operations and many nominally different operating entities
23
24 associated with the scheme, a relatively small group of individuals were
18
25
19 responsible for day-to-day operations. (UF #43). No single employee relating to
26
20 the financing or decision making of the various entities worked for only one entity
27
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1     or in only one field: all operated across companies and in various different
2     responsible positions throughout the corporate web. (UF #32, #32(d), #32(f),
2
3
3     #32(g), #32(K)(iii), #34, #34(a), #34(d), #34(h), #34(h)(xvi), #36(a), #37, #37(a),
4
5
4     #37(b), #37(d), #39, #40.)
6           (7) No distinctions between entities: Although each Corporate Defendant
5
7
6     served its own purpose in the scheme, many served similar purposes or easily
8
9
7     could have served a different one because the companies shared owners,
10
 8 managers, and financial expertise. Insofar as the small group of Individual
11
 9 Defendants owned and operated such a vast web of companies to execute the
12
10 scheme, the companies’ names and corporate architecture were for all intents and
13
14
11 purposes nominal: each entity could have served a different purpose in the scheme
15
12 without any needed change in ownership structure, hiring of employees, or
16
17
13 recruiting of experts. Even in the most highly expertised areas of the common
18
14 enterprise—the chargeback area of the scheme’s operations—Defendants Reuveni
19
15 and Argaman served together with both Doron and Alon Nottea for both Secured
20
21
16 Merchants, LLC and Relief Defendant Chargeback Armor, Inc. in a manner that
22
17 left those entities hardly distinct from the other operating enterprises in the
23
24 scheme. (UF #41); (UF #43(b)); (UF #43(c)).
18
25
19                 2. Injunctive and Monetary Relief for Individual Defendants
26                              i. The Standard For Injunctive Relief.
20
27
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1           Individuals are subject to injunctive relief for a company’s deceptive acts or
2     practices when they either: (1) “participated directly in the acts or practices;” or
2
3
3     (2) “had authority to control them.”33 “Participation” can include an individual
4
5
4     working at and drawing a salary from the company, even if the individual is not
6     involved in day-to-day operations.34 Moreover, where an officer participates in
5
7
6     “acts crucial to the success” of an enterprise, the officer has directly participated
8
9
7     for the purposes of individual liability.35 In J.K. Publications, for instance, the
10
 8 court held liable a corporate officer who had obtained merchant accounts and
11
                                                                  36
 9 purchased a database of consumers for the corporate defendant.
12
13
10          Individuals are also liable for injunctive relief if they had “authority to
14
11 control” the corporation, which can be inferred from “‘active involvement in
15
12 business affairs and the making of corporate policy.’”37 An individual’s “status as
16
17
13 a corporate officer and authority to sign documents on behalf of the corporate
18                                                                    38
14 defendant can be sufficient to demonstrate the requisite control.” Indeed, a
19
15 “corporate officer is presumed to be in control of a small, closely held
20
   33
21
16    FTC v. Publ’g Clearing House, Inc., 104 F.3d 1168, 1170 (9th Cir. 1997).
   34
22    See, e.g., FTC v. J.K. Publications, Inc., 99 F. Supp. 2d 1176, 1206 (C.D. Cal.
17 2000).
23
   35
18    Id.
24 36
      Id.
25
19 37 J.K. Publications, 99 F. Supp. at 1203 (quoting FTC v. Am. Standard Credit
26 Sys., Inc., 874 F. Supp. 1080, 1089 (C.D. Cal. 1994)).
20 38
27    Id. at 1204.
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1     corporation, and assuming the duties of a corporate officer is probative of an
2     individual's participation or authority.”39
2
3
3                               ii. The Standard For Equitable Monetary Relief.
4
5
4           To obtain equitable monetary relief against an individual, the FTC must

6     show, in addition to one of the two factors above, that the individual had some
5
7
6     knowledge of the company’s deceptive acts or practices.40 Individuals possess the
8
9
7     requisite knowledge if they: (1) had actual knowledge of the misrepresentations;
10 (2) were recklessly indifferent to the truth or falsity of the misrepresentations; or
 8
11
 9 (3) had an awareness of a high probability of deceptive conduct together with an
12
                                      41
10 intentional avoidance of the truth. The “degree of participation in business
13
14
11
15
12
16    39
        FTC v. Ivy Capital, Inc., No. 2:11-CV-283, 2013 WL 1224613, *14 (D. Nev.
17
13    Mar. 26, 2013) (quoting FTC v. LoanPointe, LLC, No. 2:10-CV-225DAK, 2011
18    WL 4348304, *10 (D. Utah Sept. 16, 2011)); see also FTC v. Transnet Wireless
14    Corp., 506 F. Supp. 2d 1247, 1270 (S.D. Fla. 2007) (“An individual’s status as a
19    corporate officer gives rise to the presumption of ability to control a small,
15
20    closely-held corporation.”); Standard Educators, Inc. v. FTC, 475 F.2d 401, 403
      (D.C. Cir. 1973) (“A heavy burden of exculpation rests on the chief executive and
21
16    primary shareholder of a closely held corporation whose stock-in-trade is
22    overreaching and deception.”); FTC v. Windward Mktg., No. Civ. A. 1:96-CV-
17    615F, 1997 WL 33642380, *13 (N.D. Ga. Sept. 30, 1997) (“An individual’s status
23    as a corporate officer gives rise to a presumption of ability to control a small,
18
24    closely-held corporation.”).
   40
25    J.K. Publications, 99 F. Supp. at 1204.
19 41
      FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1138-39 (9th Cir. 2010);
26
20 Publ’g Clearing House, 104 F.3d at 1171; FTC v. Amy Travel Serv. Inc., 875 F.2d
27 564, 574 (7th Cir. 1989).
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1    affairs is probative of knowledge.”42 The FTC, however, is not required to prove
2    that an individual actually intended to deceive to establish knowledge.43
2
3
3                             iii. The Individual Defendants Are Liable For Both
4                                  Injunctive And Monetary Relief.
5
4
           There is no genuine dispute that each individual defendant participated in
6
5
7    furthering the goal of, and/or had authority to control, the AuraVie companies. It
6
8    is also undisputed that each individual had the requisite degree of knowledge of
9
7
   AuraVie’s unlawful acts and practices to hold him jointly and severally liable for
10
 8
11 equitable monetary restitution to AuraVie’s many consumer victims. Because
 9
12 there are no genuine issues of material fact in dispute, the FTC requests the Court
13
10
   order summary judgment against each of the Individual Defendants.
14
11
15        Each of the Individual Defendants owned or operated one or more of the
12
16 companies involved in the common enterprise. Alon Nottea owned several of the
17
13
   entities, including but not limited to being a partner in Bunzai Media Group, sole
18
14                                                                            44
19 owner of his “consulting” LLCs, Adageo LLC and Apogee Network LLC. Igor
15
20 Latsanovski was a partner in Bunzai Media Group, Inc. and was the sole owner
21
16
   of CalEnergy, Inc.—an entity critical to the scheme’s money transfers across its
22
17
23
18
24 42 Amy Travel Serv., 875 F.2d at 574; FTC v. Sharp, 782 F. Supp. 1445, 1450 (D.
25 Nev. 1991).
19 43
      Network Servs. Depot, 617 F.3d at 1139; Publ’g Clearing House, 104 F.3d at
26
20 1171.
27 44 See Section IV(B)(1).
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1     web of operating and pass-through entities.45 Alan Argaman owned at least
2     Secured Merchants LLC and Secured Commerce, LLC and was closely involved
2
3
3     in the day-to-day operations of Chargeback Armor, Inc., all of which were critical
4
5
4     to the scheme’s deceptive chargeback practices.46 Roi Reuveni owned his
6     consulting LLC, Trigen, L.L.C., while also serving as an officer and owner, along
5
7
6     with Defendants Alon and Doron Nottea Chargeback Armor, Inc.47 Doron Nottea
8
9
7     owned (with Alan Argaman) Secured Commerce LLC and (with Alon Nottea and
10
 8 Roi Reuveni) Chargeback Armor, Inc., while serving as the bookkeeper for the
11
                                                      48
 9 vast majority of the enterprise’s web of companies. Moreover, all these
12
10 defendants signed legal documents on behalf of AuraVie companies, including
13
14
11 merchant account applications, tax returns, and bank signature cards. Thus, the
15
12 undisputed facts show that the individual defendants each had authority to control
16
17
13 one or more of the AuraVie companies.
18
14       As described above, the undisputed facts also show that each individual
19
15 defendant actively participated in AuraVie’s unlawful acts and practices, and had
20
21
16 ample knowledge of them. Indeed, each Individual Defendant’s documented and
22
17 admitted participation in AuraVie’s business affairs proves his knowledge of
23
24 AuraVie’s unlawful conduct. Defendants Alon and Doron Nottea were
18
25
19    45
         See Section IV(B)(3).
      46
26       See Section IV(B)(4).
      47
20       See Section IV(B)(5).
27    48
         See Section IV(B)(2).
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1     responsible for the day-to-day operations of the majority of the common
2     enterprise’s entities, with Alon running the business and Doron managing the
2
3
3     finances of the web of subsidiaries required to execute the scheme.49 As such, both
4
5
4     undeniably had knowledge of the practices that they themselves were carrying out.
6           Despite holding himself out as a mere investor, Defendant Latsanovski
5
7
6     was kept apprised by Alon Nottea of all the core business dealings relating to the
8
9
7     scheme and was regularly consulted by Alon Nottea regarding business decisions
10                                         50
 8 required to further the company’s plans. As such, he unquestionably at least
11
 9 should have known of the enterprise’s abusive practices, particularly considering
12
10 his background in owning payment processors outside of the common enterprise.
13
14
11       Defendants Argaman and Reuveni similarly at the very least should have
15
12 been aware and likely were aware of the enterprise’s scheme and that it was
16
17
13 abusing consumers. Defendants Argaman and Reuveni were intimately involved
18
14 in providing and operating software designed to minimize chargeback demands by
19
15 consumers.51 Setting aside that such programs would inherently attract the type of
20
21
16 clientele that would maintain high chargeback rates (an indicia of fraud),
22
17 Defendant Argaman co-owned the entity that leased the AuraVie office space and
23
24 shared that office with the other Individual Defendants. His connection with the
18
25
19
      49
26       See Sections IV(B)(1), IV(B)(2).
      50
20       See Section IV(B)(3)(ii).
27    51
         See Sections IV(B)(4), IV(B)(5).
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1    other Individual Defendants, along with his access to chargeback data that
2    strongly suggests the fraudulent nature of the enterprise that he was involved with
2
3
3    and operationally supporting, demands that he should have been aware of the
4
5
4    deception being perpetrated. Defendant Reuveni was similarly implicated by his
6    participation in the chargeback management of the common enterprise, by his
5
7
6    relationship with the other Individual Defendants, and by his other operational
8
9
7    roles in the common enterprise. Therefore, all Individual Defendants meet the
10
 8 standard for equitable monetary liability.
11
 9
12           J. Permanent Injunctive Relief and Monetary Damages Against
                Defendants Is Necessary.
13
10
                             1. Permanent Injunctive Relief Against Defendants
14                           is Warranted.
11
15
12       Section 13(b) of the FTC Act authorizes courts to issue a permanent
16
13 injunction whenever a defendant violates the laws enforced by the Commission
17
18
14 and is likely to continue to violate them. FTC v. H.N. Singer, Inc., 668 F.2d 1107,
19
15 1111 (9th Cir. 1982); FTC v. Gem Merch. Corp., 87 F.3d 466, 468 (11th Cir.
20
21
16 1996); FTC v. Medlab, Inc., 615 F. Supp. 2d 1068, 1082 (N.D. Cal. 2009). To
22
17 determine whether a defendant is likely to engage in similar violations in the
23
18 future, courts look to two general factors: (1) the deliberateness and seriousness
24
25
19 of the present violation, and (2) the defendant’s past record with respect to
26
20 deceptive and unfair marketing practices. Sears, Roebuck and Co. v. FTC, 676
27
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1    F.2d 385, 392 (9th Cir. 1982); Ivy Capital, 2013 WL 1224613, at *16. The court
2    may also weigh the “adaptability or transferability of the unfair practice to other
2
3
3    products.” Id.
4
5
4          Here, the Individual Defendants attempted to steal millions of dollars from
6    thousands of consumers, successfully depriving consumers of over $75 million
5
7
6    after returns and refunds.52 In response to many hundreds of consumer
8
9
7    complaints, high return and chargeback rates, terminated merchant accounts, and
10
 8 law enforcement inquiries, the Individual Defendants took additional steps to
11
 9 evade detection. Incorrigible and adaptive, they created new campaigns and shell
12
10 companies, fraudulently acquired merchant accounts, lied to consumers and law
13
14
11 enforcement. Without entry of a permanent injunction, Defendants will likely
15
12 begin their fraud anew, likely learning from past mistakes and making detection
16
17
13 more difficult.
18
14                     2.    Equitable Monetary Relief against Defendants is
19                     Warranted.
15
20
21       Where, as here, consumers suffer economic injury resulting from
16
22 defendants’ violations of the FTC Act, equity requires monetary relief in the full
17
23
   amount of consumers’ losses. Stefanchik, 559 F.3d at 931 (affirming summary
18
24
25 judgment holding defendants liable for the full amount of loss incurred by
19
26
20 52
27    See Section II.B.
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1     consumers); Inc21.com, 745 F. Supp. 2d at 1011. To determine the proper
2     monetary relief, the FTC need only reasonably approximate the amount of
2
3
3     consumer injury, at which point the burden shifts to Defendants to show that the
4
5
4     figures are inaccurate. See Commerce Planet, 878 F. Supp. 2d at 1089 (citing
6     FTC v. Direct Marketing Concepts, Inc., 624 F.3d 1, 15 (1st Cir. 2010); FTC v.
5
7
6     Febre, 128 F.3d 530, 535 (7th Cir. 1997)). “Fuzzy figures due to a defendant’s
8
9
7     uncertain bookkeeping cannot carry a defendants’ burden to show inaccuracy.”
10
 8 Id.
11
 9             Here, according to Defendants’ own business records and payment
12
10 processing records, Defendants’ charges, minus returns, chargebacks, and refunds,
13
14
11 totaled $75,624,030 million. (Ex. 944). But this figure may not include all
15
12 consumer harm. It does not, for example, account for the NSF fees or other costs
16
17
13 incurred by AuraVie’s victims because of the unauthorized, and unexpected,
18          53
14 charges.
19
15       Because Defendants are jointly and severally liable for that amount, the
20
21
16 FTC requests that the Court convert the Receiver into a liquidating receiver and
22
17 order it wind down AuraVie, liquidate its assets, and pay net assets to the FTC for
23
24 partial satisfaction for the redress owed to AuraVie’s victims.
18
25
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20    53
27         See Section II.A.2, II.B.
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1        VII. CONCLUSION
2           For these reasons, the FTC respectfully requests that the Court grant
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3
3     summary judgment against Defendants on all counts alleged in the Amended
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5
4     Complaint and enter a Final Order for Final Judgment and Order for Injunctive
6     and Other Relief.
5
7
6                                                   Respectfully submitted,
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10
 8 Dated: 4/18/16                                   _____/s/ Reid Tepfer___________
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